












Affirmed and Memorandum Opinion filed 13, 2011.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-00743-CR

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&nbsp;

RAMON CONTRERAS, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the County Criminal Court at Law No. 13

Harris County, Texas

Trial Court Cause No. 1600970

&nbsp;



&nbsp;

MEMORANDUM
OPINION

Appellant entered a plea of not guilty to driving while
intoxicated.&nbsp; On July 21, 2010, the trial court sentenced appellant to
confinement for three days in the Harris County Jail, probated for one year.&nbsp;
Appellant filed a timely notice of appeal.

Appellant’s appointed counsel filed a brief in which he
concludes the appeal is wholly frivolous and without merit. &nbsp;The brief meets
the requirements of Anders v. California, 386 U.S. 738, 87 S.Ct. 1396
(1967), by presenting a professional evaluation of the record and demonstrating
why there are no arguable grounds to be advanced. &nbsp;See High v. State,
573 S.W.2d 807 (Tex. Crim. App. 1978).

A copy of counsel’s brief was delivered to appellant. &nbsp;Appellant
was advised of the right to examine the appellate record and file a pro se
response. &nbsp;See Stafford v. State, 813 S.W.2d 503, 510 (Tex. Crim. App. 1991).
&nbsp;As of this date, more than forty-five days has passed and no pro se response
has been filed.

We have carefully reviewed the record and counsel’s brief and
agree the appeal is wholly frivolous and without merit. &nbsp;Further, we find no
reversible error in the record. &nbsp;We are not to address the merits of each claim
raised in an Anders brief or a pro se response when we have determined
there are no arguable grounds for review. &nbsp;See Bledsoe v. State, 178
S.W.3d 824, 827–28 (Tex. Crim. App. 2005).

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Chief Justice
Hedges and Justices Anderson and Christopher.

Do Not Publish —
Tex. R. App. P. 47.2(b).





